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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


   HM FLORIDA-ORL, LLC,

                        Plaintiff,

   v.                                                      Case No: 6:23-cv-950-GAP-LHP

   MELANIE GRIFFIN,

                        Defendant




                                              ORDER
          This cause came before the Court for consideration without oral argument on

   Defendant Melanie Griffin’s (“Defendant’s”) Unopposed Motion to Reopen

   Discovery. Doc. 64.

          On May 23, 2023, Defendant became aware that Plaintiff HM Florida-ORL,

   LLC (“Plaintiff”) intends to close its downtown Hamburger Mary’s location on June

   2, 2024, as part of its plans to relocate and reopen imminently. Id., ¶¶ 2-4, 6.

   Defendant avers that this development raises standing, mootness, and ripeness

   issues which it seeks to explore by briefly reopening discovery. 1 Id., ¶¶ 5-6. Plaintiff




          1  The deadline for discovery set out in the Modified Scheduling Order passed on January
   30, 2024. Doc. 54.
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   does not oppose this relief. Id. at 4. Indeed, Plaintiff has agreed to produce

   documents evidencing Hamburger Mary’s imminent reopening by June 7, 2024,

   and to provide a representative for deposition on this issue on or before June 17,

   2024. Id., ¶ 6. Recognizing the parties’ agreement that Defendant has raised a

   meritorious issue for inquiry, her motion is due to be granted.

         Defendant certifies that this expedited discovery plan will not affect any other

   date or deadline in the Modified Scheduling Order (“MSO”). See id., ¶ 7. However,

   the dispositive legal issue in this case remains pending before the Eleventh Circuit

   on Defendant’s appeal from this Court’s order granting Plaintiff’s motion for

   preliminary injunction. See Doc. 29; Doc. 31; HM Florida-ORL, LLC v. Secretary of the

   Fla. Dep’t of Business, No. 23-12160, Doc. 54 (11th Cir. 2024). It would be imprudent

   to rule upon Defendant’s Motion for Summary Judgment or to proceed with trial in

   the interim.

         Accordingly, it is ORDERED that Defendant’s Unopposed Motion to Reopen

   Discovery through June 17, 2024, in accordance with the limited parameters set out

   in her motion, is hereby GRANTED.

         Moreover, to allow the parties to subsequently prepare for trial and for the

   sake of judicial efficiency, it is ORDERED that all remaining dates and deadlines in

   the MSO are hereby CONTINUED until further notice.




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         The parties are directed to propose a Modified Scheduling Order within ten

   days upon the docketing of the Eleventh Circuit’s decision on the merits of

   Defendant’s appeal.

         DONE and ORDERED in Orlando, Florida on May 30, 2024.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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